                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )          NO. 3:18-CR-198
                                                 )
 D’MARKO V. KING                                 )
                                                 )



                                         ORDER

       Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation (Doc.

 32), recommending that the Court: (1) find that the plea hearing in this case could not be

 further delayed without serious harm to the interests of justice; (2) grant Defendant’s

 motion to withdraw his not guilty plea to Count One of the Indictment; (3) accept

 Defendant’s plea of guilty to Count One of the Indictment, that is, knowingly and

 intentionally possessing with intent to distribute four hundred (400) grams or more of a

 mixture or substance containing a detectable amount of fentanyl, a Schedule II controlled

 substance in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A); (4) adjudicate Defendant

 guilty of the charge set forth in Count One of the Indictment; and (5) find that Defendant

 shall be released on his own recognizance until sentencing in this matter. Neither party

 filed a timely objection to the report and recommendation. After reviewing the record, the

 Court agrees with the magistrate judge’s report and recommendation. Accordingly, the

 Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc.

 10) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

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        (1)    As set forth on the record, Defendant’s plea hearing could not be further

 delayed without serious harm to the interests of justice;

        (2)    Defendant’s motion to withdraw his not guilty plea to Count One of the

 Information is GRANTED;

        (3)    Defendant’s plea of guilty to Count One of the Indictment, charging him with

 knowingly and intentionally possessing with intent to distribute four hundred (400) grams

 or more of a mixture or substance containing a detectable amount of fentanyl, a Schedule

 II controlled substance in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) is

 ACCEPTED;

        (4)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count

 One of the Indictment;

        (5)    Defendant SHALL REMAIN in custody until sentencing in this matter,

 which is scheduled to take place on February 22, 2021 at 2:00 p.m. before the Honorable

 Harry S. Mattice, Senior United States District Judge.

        SO ORDERED.

                                           /s/  Harry S. Mattice Jr. _________________
                                           HARRY S. MATTICE, JR
                                           SENIOR UNITED STATES DISTRICT JUDGE
                                           November 9, 2020




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